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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ARTURO DELEON-REYES
                                                           Case No. 18-CV-01028
                           Plaintiff,
                                                           Honorable Andrea R. Wood
v.

REYNALDO GUEVARA, ET. AL.

                           Defendants.
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GABRIEL SOLACHE,
                                                           Case No. 18-CV-02312
                           Plaintiff,
                                                           Honorable Andrea R. Wood
v.

REYNALDO GUEVARA, ET. AL.

                           Defendants.

   DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ JOINT MOTION TO APPOINT
  AND SUBSTITUTE SPECIAL REPRESENTATIVE FOR DECEASED DEFENDANTS

         Defendants Edwin Dickinson, Robert Rutherford, Dennis Stankus, John Naujokas, Daniel

Trevino, Mark Harvey, Robert Beibel, and Edward Mingey, by their attorneys, The Sotos Law

Firm, P.C., Defendants Reynaldo Guevara and Edward Halvorsen, by their attorneys,

Leinenweber Baroni & Daffada, LLC, and Defendant City of Chicago by its attorneys, Rock

Fusco & Connelly, LLC, (collectively “Defendants”), in opposition to Plaintiffs’ motion to

appoint and substitute a special representative for deceased Defendants John Karalow and

Francis Cappitelli, state:

         1.       Plaintiffs move, relying on FED. R. CIV. P. 25, to appoint and substitute a special

representative for the purpose of representing deceased Defendants John Karalow and Francis
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Cappitelli (the “Deceased Defendants”). But Plaintiffs’ request to appoint a special

representative for the Deceased Defendants asks this Court to exert authority not granted to it by

federal statute or the Federal Rules of Civil Procedure. Under federal and Illinois law, such an

appointment should and must be directed to a probate court, which would likely be in a better

position to decide the factual and legal issues associated with this request. As a result, Plaintiffs’

motion should be denied.

        2.      At the outset, Plaintiffs’ claim they have “recently learned from counsel for

Defendants, subsequent to filing their Complaints, that Defendants Karalow and Cappitelli are

deceased.” (Dkt. 53, ¶2). But Defendants question whether any investigation was performed by

Plaintiffs prior to filing the complaints considering a simple internet search reveals that

Cappitelli died in June 2016 and Karolow died in 2008.1

        3.      Plaintiffs’ request, however, to appoint and substitute a special representative

where the Deceased Defendants died before the filing of a Complaint falls flat. 2 Federal district

courts in Illinois do not have the power to appoint a special representative under these

circumstances. Abernathy v. Village of Park Forest, et al., No. 16-cv-2128 (N.D. Ill. October 30,

2017) Doc. No. 185 (Dow, J.) (federal court does not have the authority to appoint special

administrator when deceased defendant died prior to the filing of plaintiff’s complaint) (Ex. A);

Kluppelberg v. Burge, et al., No. 13-cv-3963 (N.D. Ill. December 6, 2013) Doc. No. 87, *4

(Lefkow, J.) (“the court remains unconvinced that it has the authority to appoint a ‘special

administrator’ as requested” when certain defendants passed before filing of the complaint) (Ex.

1
  See https://today.uic.edu/deaths-frank-cappitelli (death of Cappitelli);
https://www.newspapers.com/newspage/231748995/ and http://www.chicagofop.org/2008-departed-
members/ (death of Karolow).
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  Plaintiff Reyes filed his Complaint on February 9, 2018 (dkt. 1) and Plaintiff Solache filed his
Complaint on March 30, 2018 (dkt. 1).

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B); Wilson v. Sunstrand Corp., No. 99 D 6944, 2002 WL 99745, at *4 (N.D. Ill. Jan. 25, 2002)

(Kennelly, J.) (“A federal court lacks the authority to appoint a special administrator.”); Coleman

v. McLaren, 590 F. Supp. 38, 39 (N.D. Ill. 1984) (Shadur, J.) (holding that court lacked the

power to appoint a personal representative to represent a deceased defendant).

        6.      The reasoning for these decisions finds further support when read in context with

the judicially created “probate exception,” which states that even when federal jurisdiction exists

“a federal court nonetheless lacks jurisdiction over cases involving probate matters.” Storm v.

Storm, 328 F.3d 941, 943 (7th Cir. 2003)3; see also Jones v. Brennan, 465 F.3d 304, 306 (7th

Cir. 2006) (citing Storm and recognizing the probate exception). Indeed, the Seventh Circuit has

observed that “[s]ince its earliest invocations in the courts of this county, the exception has

become an established feature of our federal judicial system.” Storm, 328 F.3d at 943 (internal

citations omitted).

        7.      Plaintiff’s reliance on Federal Rule of Civil Procedure 25(a) in support of his

request to substitute a special representative is misplaced. (Dkt. 53, ¶8). “Rule 25 speaks to the

death of a party, meaning death after service.” Nash v. Baker, et al. No. 14-c-1493 (N.D. Ill.

April 6, 2015) Doc. No. 64, *3 (Gettleman, J.) (rejecting argument to substitute party under Rule

25 when deceased defendant died prior to complaint) (Ex. C). “[R]ule [25] only applies when a

party dies during the pendency of the lawsuit.” Kluppelberg v. Burge, et al., No. 13-cv-3963

(N.D. Ill. December 6, 2013) Doc. No. 87, *3. Because the Deceased Defendants died years

prior to Plaintiffs filing their complaints, Rule 25 is inapplicable, and Plaintiff has provided no

federal rule or statute granting this Court authority to appoint a special representative. See

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        But see Marshall v. Marshall, 547 U.S. 293, 311 (2006), which questioned the scope of the
probate exception as applied in Storm. The Defendants cite Storm for the policy rationale underlying the
probate exception and the Marshall court endorses such an approach. See Marshall, 47 U.S. at 312
(considering whether any “sound policy considerations’ militate[d] in favor of extending the probate
exception to cover the case at hand” (citation omitted)).
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Stanley v. Kenney, No. 87 C 10822, 1988 WL 48240, at *1 (N.D. Ill. May 9, 1988) (“[w]hen a

person for whom substitution is sought has died before being named a party, substitution is not

allowed” under FED. R. CIV. P. 25).

        8.      Plaintiffs’ further reliance on a sister court’s decision appointing a special

representative in Rivera v. Lake County, et al. 974 F. Supp. 2d 1179, 1199 (N.D. Ill. 2013)

(Leinenweber, J.) is even more troublesome. (Dkt. 53, ¶ 6). In Rivera, the court was not

presented with the issue of whether a federal court had statutory authority to appoint a special

representative when a deceased defendant died prior to the filing of a lawsuit. Rather, the

particular deceased defendant in Rivera was seeking an outright dismissal of the action under

735 ILCS 5/13-209. Rivera, 974 Supp. 2d at 1198-99. This is plainly not the case at bar. But

more importantly, in McIntosh v. City of Chicago, when the same court was faced with an

identical situation as here, plaintiff’s motion to appoint and substitute a special representative

was denied and he was “instructed to seek the appointment of a special representative in probate

court” finding the court lacked authority. No. 1:17-cv-06357 (N.D. Il. 2018), Doc. No. 56,

(Leinenweber, J) (Ex. D).4

        9.      Additionally, Plaintiffs’ citation to Tamburo v. Dworkin, No. 04 C 3317, 2012

WL 104545 at *4 (N.D. Ill. Jan. 11, 2012) in support of substituting a special representative for

the Deceased Defendants is similarly misguided. (Dkt. 53, ¶2). The Tamburo court was not

presented with a request to substitute a special representative for a defendant who died prior to

the initiation of a lawsuit. Id. Tamburo simply confirms that a plaintiff can substitute a special

representative for a deceased party, consistent with Rule 25, that died during the pendency of the


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  Significantly, Plaintiff Reyes’ counsel, Loevy & Loevy, were also the attorneys representing plaintiffs
in both the Rivera and McIntosh matters. As such, their reliance on Rivera to support their position, with
full knowledge that under identical circumstances as this lawsuit, the same court in McIntosh instructed
them to seek an appointment of a special representative in probate court, is particularly misleading.
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litigation, had actually participated in the litigation, had notice, and an opportunity to be heard.

Id. Here, the Deceased Defendants died prior to the lawsuit, have yet to be served, or otherwise

officially (through their potential estates) made aware of this lawsuit against them.

          10.   Plaintiffs’ further dependence on Starks v. Waukegan, et al., No. 09 C 348 (N.D.

Ill. Jan. 15, 2014) Doc. No. 208, (Ex. E), in support of his position that “Courts in this district

have appointed special representatives in these circumstances” is baseless. (Dkt. 53, ¶ 6). The

minute entry order cited does not address whether a federal court has authority to appoint a

special representative, and indicates the motion to appoint a special representative was granted,

in part, because the defendants withdrew their opposition to the motion. In any event, the Starks

plaintiff was seeking to substitute a special representative for a deceased party that had been

served, answered several amended complaints, and appeared to have died after the filing of the

lawsuit. See Starks v. Waukegan, et al., No. 09 C 348 (N.D. Ill. September 10, 2013) Doc. No.

165, (Ex. F). The facts warranting a substitution in Starks are not the circumstances presented

here. 5

          11.   Plaintiffs have not and cannot identify any federal rule or statute authorizing this

Court to appoint a special administrator for the Deceased Defendants, or cited any authority to

support their request that the Clerk of the City of Chicago be appointed as special administrator

for the Deceased Defendants. Accordingly, Plaintiff’s motion to appoint and substitute a special

administrator for the purpose of representing the Deceased Defendants should be denied.




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   Similarly, the fact that attorneys from the Sotos Law firm, who also represent certain Individual
Defendants, agreed to permit the appointment of a special representative for deceased defendants in
Savory v. City of Peoria, et al., has no bearing or guidance here. Savory was a completely different
factual and legal scenario given the age of the underlying criminal case (1977), the heirs specifically did
not wish to be involved, the City of Peoria consented to the substitution, and most importantly, it
appeared the Complaint would be dismissed on statute of limitations grounds (which it was).
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       12.     Plaintiffs, however, are not without recourse. As cited in Plaintiffs’ brief, Illinois

law provides a place and procedure for ensuring that someone can answer and defend the claims

leveled against them by Plaintiffs. See 735 ILCS 5/13-209(b) (providing the process by which

state court may appoint a special administrator for a pre-deceased defendant). That procedure

should be followed here. State probate court would be the better venue to decide the

appropriateness of Plaintiffs’ motion, as it would provide the opportunity for the Deceased

Defendants heirs, legatees, and other interested parties to be heard while utilizing the expertise of

that particular body and promoting judicial economy. See Storm, 328 F. 3d 944 (stating that

promoting “judicial economy” is another reason for the probate exception).

       WHEREFORE, for the foregoing reasons, Defendants respectfully request this Court

deny Plaintiffs’ motion to appoint and substitute a special representative for Deceased

Defendants John Karalow and Francis Cappitelli.

Date: May 14, 2018

Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I certify under penalty of perjury, pursuant to 28 U.S.C.A. ' 1746, that on May 14, 2018,
I electronically filed the foregoing Defendants’ Opposition to Plaintiff’s Joint Motion to
Appoint and Substitute Special Representative for Deceased Defendants with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the following
CM/ECF participants listed in the below service list:

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